Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32            Desc Main
                                   Document      Page 1 of 24


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                              )
Inre:                                         )       Chapter 11
                                              )
ABARTA OIL & GAS CO., LLC,                    )       Case No. 2 1-22406
                                              )
                       Debtor.                )
                                              )
               DECLARATION OF JAMES A. TAYLOR, PRESIDENT AND
             CEO OF THE DEBTOR IN SUPPORT OF FIRST DAY MOTIONS

        I, James A. Taylor, hereby declare as follows:

        1.     I am the President and Chief Executive Officer of ABARTA Oil & Gas Co, LLC

d/b/a ABARTA Energy, debtor and debtor in possession (the “Debtor”), in the above captioned

chapter 11 case (the “Chapter 11 Case”). I have held this position since 1995. I am generally

familiar with the Debtor’s day-to-day operations, business and financial affairs, and books and

records. I am above 18 years of age and competent to testify.

        2.     I submit this declaration (this “Declaration”) in support of certain First Day

Motions (as defined below) to assist this Court and parties in interest in understanding the Debtor’s

business and its operations and the circumstances that compelled the commencement of the

Chapter 11 Case. Except as otherwise indicated, all facts set forth in this Declaration are based

upon my personal knowledge, information supplied to me by others at the Debtor, my review of

relevant documents or my opinion based on my experience and knowledge of the Debtor’s

operations, financial condition, and present financial outlook. If I were called upon to testify, I

could and would testify competently to the facts set forth herein. I am authorized by the Debtor to

submit this Declaration.

        3.     Any capitalized terms not expressly defined herein shall have the meaning ascribed

to that term in the applicable First Day Motion.
Case 21-22406-CMB          Doc 4      Filed 11/07/21 Entered 11/07/21 13:30:32               Desc Main
                                     Document      Page 2 of 24


                                         INTRODUCTION

A.      The Chapter 11 Bankruptcy Case.

        4.      On the date hereof (the “Petition Date”), the Debtor filed a voluntary petition for relief

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtor intends

to continue in the possession of its property and management of its business as a debtor in possession

in accordance with sections 1107 and 1108 of the Bankruptcy Code.

        5.      Generally speaking, the Debtor commenced the Chapter 11 Case to pursue a sale of

substantially all of its remaining assets pursuant to section 363 of the Bankruptcy Code and otherwise

orderly wind-down its business and affairs in an effort to preserve and maximize its going concern

value for the benefit of its creditors and equity members.

B.      The Debtor’s Business, Assets, and Financial Performance.

        I.      Corporate History.

        6.      The corporate history of the Debtor is mildly complex spanning over four decades and

three states. ABARTA Oil & Gas Co., Inc. was originally incorporated in 1977 under the laws of the

Commonwealth of Pennsylvania as a for profit corporation (“PA AOG”). In 1979, ABARTA Oil &

Gas Co., Inc. was incorporated under the laws of the State of Ohio as a for profit corporation (“OH

AOG”) to conduct the Debtor’s business operations in Ohio. On December 31, 1981, OH AOG and

PA AOG completed a merger with OH AOG being the surviving corporation. On December31, 2014,

OH AOG converted from an Ohio corporation to a Delaware corporation (“DE AOG”). Finally, on

January 1, 2018, DE AOG converted from a Delaware corporation to a Delaware limited liability

company as part of an overall global corporate restructuring of its secured indebtedness and capital

structure. As part of the conversion, DE AOG changed its name to ABARTA Oil & Gas Co., LLC,

the Debtor hereunder.




                                                    2
Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32               Desc Main
                                   Document      Page 3 of 24


        IL      Business Operations.

        7.      Headquartered in Pittsburgh, Pennsylvania, the Debtor is an independent oil and gas

exploration and production company operating under the name ABARTA Energy. The Debtor began

its operations by making relatively modest investments with different oil and gas developers and

remained a passive financial partner through the late 1 980s.

        8.      In the late 1980s and 1990s, the Debtor became a more active partner with energy

companies who shared its vision for growth. During that time, the Debtor developed in-house

expertise in geology, engineering, and operations so it could pursue a balance between continued

growth through the drill bit and acquisition. By the late 1 990s, the Debtor was a complete

operating company, owning and operating over 700 wells in West Virginia, Kentucky,

Pennsylvania, Ohio, and Texas.

        9.      During its history, the Debtor has drilled and completed numerous wells utilizing

its own drilling rig and is experienced in designing, constructing, and reclaiming drilling

locations, associated surface equipment, and pipelines.         The Debtor has participated in the

development of over 200 horizontal wells in the Marcellus and Utica shale formations. The

Debtor also previously served as the operator of hundreds of wells, miles of pipeline, and

multiple compression and processing facilities in Pennsylvania, West Virginia, and Kentucky.

Until recently, the Debtor had active field offices in Pennsylvania, West Virginia, and Kentucky.

        10.     As described in more detail below, largely due to the historic and dramatic decline

of crude oil and natural gas prices, the Debtor determined in 2019 that it would be in its best interest

to liquidate its oil and gas portfolio and otherwise orderly wind-down its business and affairs.

Since that time, the Debtor closed on a number of sale transactions realizing approximately $5.5




                                                   3
Case 21-22406-CMB            Doc 4      Filed 11/07/21 Entered 11/07/21 13:30:32                    Desc Main
                                       Document      Page 4 of 24


million in net proceeds and, perhaps more importantly, shedding approximately $7.7 million’ of

contingent asset retirement obligations (“AROs”) associated with the future plugging and

abandonment of under-producing or non-producing oil and natural gas properties and related facilities

(i.e., the removal of equipment, plugging of the well with cement, any environmental clean-up, etc.

necessary to shut the well down).

         11.     Today, the Debtor: (i) owns an interest in approximately 1,995 net acres of leases

principally in Pennsylvania and Ohio (collectively, the “Leases”); and (ii) owns an interest in

approximately 362 gross oil and natural gas wells in Pennsylvania, Ohio, and Louisiana. The

Debtor also holds an interest in deep rights in approximately 5,500 acres of oil and gas leases

for future unconventional development in the Marcellus, Utica, and Burket shales.

        III.     Oil & Gas Holdings and Assets.

         12.     The Debtor’s principal remaining oil and gas asset is a 5.2% non-operating working

interest in a natural gas field consisting of approximately 1,722 net acres and the pipeline gathering

field related thereto located in and around Chaffee Corners (Bradford County), Pennsylvania (the

“Chaffee Corners WI”). The operating partner on this project is Repsol USA and the other non-

operating partner on the project is BKV Corp. While most of the gas nmning through the gathering

lines for this project is partner produced, the project also generates revenue by transporting third party

produced gas through the project gathering lines to utility transmission lines. As detailed below (and

the sale motion filed contemporaneously herewith), the Debtor intends to sell the Chaffee Corners WI

through a Court supervised sale process.




 $7.7 million is the approximate ARO liability shed from the Debtor’s books and records from a GAAP accounting
perspective. The actual cost if the Debtor was required to perform the ARO work would likely be approximately $20-
30 million.


                                                        4
Case 21-22406-CMB               Doc 4      Filed 11/07/21 Entered 11/07/21 13:30:32          Desc Main
                                          Document      Page 5 of 24


           13.      In addition to the Chaffee Corners WI, certain other nominal non-operating oil and gas

working interests, and the deep rights referenced above, the Debtor owns the real estate related to its

field office located in Kentucky which property is under an Agreement of Sale with an unrelated third

party and will be presented to this Court for approval.

           IV.      Employees.

           14.      As of the Petition Date, the Debtor employed approximately nine (9) full time

employees, all of which are on salary.2 The Debtor’s highly-skilled employees occupy a variety of

positions. These employees’ skills, knowledge, and understanding of the Debtor’s operations and

infrastructure are essential to preserving operational stability and efficiency. None of the Debtor’s

workers are subject to a collective bargaining agreement.

           V.       Financial Performance.

           15.      Leading up to its decision to wind-down and liquidate its holdings, the Debtor

generated the majority of its revenue through the sales ofnatural gas, crude oil, natural gas liquids, and

its overriding royalty interests. Virtually all of the Debtor’s natural gas sales was made to midstream

and downstream natural gas companies under one year contracts.

           16.      As of December 31, 2020, the Debtor’s books and records reflected current assets,

property and equipment totaling approximately $13.7 million and total liabilities of approximately

$25.4 million3. For the calendar year ending December 31, 2020, the Debtor generated revenues of

approximately $4.2 million, incurred operating expenses of approximately $9 million, for a net

operating loss of approximately $4.8 million. For the year to date ending September 31, 2021, the

Debtor generated revenues of approximately $3.3 million, incurred operating expenses of

approximately $4.1 million, for a net operating loss of approximately $800,000.


2   While I am an employee of the Debtor, I do not receive a salary from the Debtor.
    For clarity, this value does not include contingent ARO liabilities.


                                                           5
Case 21-22406-CMB              Doc 4      Filed 11/07/21 Entered 11/07/21 13:30:32                    Desc Main
                                         Document      Page 6 of 24


C.       The Debtor’s Capital Structure and Indebtedness.

         I.       Capital Structure.

         17.      The aggregate membership interest in the Debtor is composed of 2,250 units (the

“Units”), divided into 2,000 common units (the “Common Units”) and 250 preferred units (the

“Preferred Units”). As of the Petition Date, the Debtor has issued and outstanding Units as follows:

                                                                                           Pro rata Share &
                                    No. of Common              No. of Preferred          Percentage Interest of
              Members
                                         Units                      Units                    Class of Units

        Delabarta, Inc.                     1,000                       --               80% of Common Units
     Wells Fargo Central                     250                        --               20% of Common Units
     Pacific Holdings, Inc.
     Wells Fargo Strategic                    --                        57               100% of Preferred Units
         Capital,_Inc.

         II.      Prepetition Secured Indebtedness.

         18.      The Debtor, Wells Fargo Strategic Capital, Inc., as lender and administrative agent (the

“WFSC”), ABARTA, Inc., as lender, and Wells Fargo Bank, N.A., as issuer of letters of credit (“L/C

Issuer” and collectively with WFSC, “Wells Fargo”) are parties to an Amended and Restated Credit

Agreement dated as of January 5, 2016 (as amended, restated, modified or supplemented from time to

time prior to the Petition Date, the “Credit Agreement”).

         19.      As of the Petition Date, the Debtor owes the lenders approximately $7.2 million in

secured financing under the Credit Agreement4 (the “Wells Fargo Secured Debt”). To the best of my

knowledge, the Wells Fargo Secured Debt is secured by a first and senior priority lien on substantially

all of the Debtor’s personal property, including its oil and gas holdings, equipment, leases and cash

collateral.




~ Inclusive of the face amount of issued and outstanding contingent letters of credit.


                                                           6
Case 21-22406-CMB          Doc 4     Filed 11/07/21 Entered 11/07/21 13:30:32             Desc Main
                                    Document      Page 7 of 24


        III.    Prepetition Unsecured Indebtedness.

        20.     As of the Petition Date, the Debtor has less than $10,000 in trade accounts payable.

        21.     The Debtor also owes Dominion Field Services, Inc. (“Dominion”) approximately

$2.8 million arising under a Termination and Settlement Agreement dated June 3, 2016 related to

termination of a transmission services agreement in Pennsylvania (the “Dominion Settlement”) and

owes BHE Eastern Gas Transmission approximately $170,000 arising under a transmission services

agreement that was not assumed by the buyer of the Debtor’s West Virginia oil and gas assets.

        22.     The Debtor also owes the State of Kentucky approximately $330,000 for real estate

taxes associated with certain oil and gas interests it previously owned in Kentucky.

        23.     The Debtor also has certain AROs. While the Debtor was able to shed a significant

portion of its AROs in connection with its prepetition sale efforts, the Debtor remains responsible for

a modest amount of AROs. Revisions to the ARO liability typically occur due to changes in the

estimated abandonment costs, well economic lives, and the discount rate. As of the Petition Date, the

Debtor estimates that the ARO liability on its books and records is less than $1 million, which is down

from an estimated $8.7 million prior to its recent prepetition sales.

        24.     The Debtor also has additional unsecured liabilities for various items, including joint

venture partner advances and oil and gas distributions to landowners under the oil and gas leases, in

the approximate amount of$ 16,000.

        25.     The Debtor also owes its indirect parent ABARTA, Inc. approximately $10.4 million,

which amount has accumulated over the history of the Debtor and is related to rents, pension related

payments, insurance, and other cost-sharing expenses.




                                                    7
Case 21-22406-CMB           Doc 4     Filed 11/07/21 Entered 11/07/21 13:30:32                Desc Main
                                     Document      Page 8 of 24



D.      Events Leading to the Filing of the Chapter 11 Case.

        26.     As described above, the Debtor’s business involved the exploration and production of

oil and gas interests, which requires significant capital to maintain. Beginning in 2015, the Debtor’s

production and royalty revenue was declining due to the start ofwhat became the historic and dramatic

decline of crude oil and natural gas prices, and the Debtor has since been downsizing, cost-cutting, and

limiting capital expenditures in response. These macro-economic factors, coupled with the Debtor’s

substantial debt obligations and obligation to Dominion under the Dominion Settlement, pushed the

limits of the Debtor’s ability to sustain the weight of its capital structure.

        27.      In 2019, the Debtor took aggressive efforts to right the ship by cutting G&A, asset

operation costs and engaged MorrisAnderson & Associates, Ltd. in an effort to combat a new round

of unfavorable commodity prices. Nevertheless, the confluence of adverse factors caused like many
                                                                                              —




other similarly situated exploration and production companies         —   the Debtor to make the difficult

decision ofliquidating its assets and winding-down its affairs in order to maximize value for the benefit

of all stakeholders.

        28.     To assist the Debtor in this process, the Debtor retained Campbell & Levine, LLC as

restructuring counsel in late March, 2020 and in May, 2020, the Debtor engaged Copper Run Capital,

LLC (“Copper Run”) to act as its investment banker and financial advisor in connection with the

Debtor’s marketing and sale efforts of the Debtor’s oil and gas holdings.

        29.     With the desire of avoiding a Chapter 11 filing, the Debtor and its professionals

negotiated with Wells Fargo and other stakeholders in an attempt to obtain time to sell all of its assets

and orderly wind-down its affairs outside of bankruptcy. These negotiations proved fruitful and

notwithstanding the market headwinds, the Debtor (with the assistance of Copper Run and its other

professionals) was largely successful in its prepetition sale efforts and was able to close a number of




                                                      8
Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                     Desc Main
                                   Document      Page 9 of 24



sale transactions.   The following chart provides a summary of the material sale transactions that

occurred in since 2019 which generated nearly         $5.5 million in net sale proceeds and shed

approximately $7.7 million in AROs.


                      ABARTA OIL & GAS CO., LLC ASSET DISPOSAL BY YEAR
                        FOR THE YEARS ENDED 2021 (Sept. 15), 2020, and 2019
 SALE EXECUTION I        AOG PROJECT I                  BUYER!         I     DISPOSAL           PURCHASE
                ISTATEi              I                                 I
      DATE             I    NAME     I                 GRANTEE         I DESCRIPTION II           PRICE

                                          2021 (Sept. 15)
                                                      Dan’s Auto            Compressor and
       09/2021             KY      COMPRESSOR
                                                         Sales             misc. equipment
                                                      Diversified          Assignment of all
       09/2021           Various   DIVERSIFIED        Production,          property and well    ($25,000.00)
                                                          LLC                   Interest
                                                                              Leasehold
       08/202 1          Various    SHALE ORRI        ~ Energy
                                                      Partners, LLC        overriding royalty   $2,550,000.00
                                                                                interests
                                                                           Assignment of all
       08/2021             KY          CARTY          Sniper Energy,
                                                           LLC             property and well        $5.00
                                                                               Interest
                                                       Natural Gas
                                   ASHLAND AND         Ventures, Inc       Assignment of all
       08/202 1            KY
                                   COOKSEYFORK        (Slone Energy,       property and well    ($200,000.00)
                                                                                Interest
                                                           LLC)
                                                          David
       08/202 1            KY          DOZER                               D6NXL DOZER           $25,000.00
                                                         Sargrves
                                                                            Completion rig
                                                       Dan’s Auto
       08/202 1            KY       MISC EQUIP                                 and misc.         $32,200.00
                                                         Sales
                                                                              equipment
                                                                           Assignment of all
                                                          Palmer
       06/202 1          Various      PALMER                               property and well        $0.00
                                                      Petroleum, Inc
                                                                                Interest
                                                        Jason D.
                                    CLARION 33
       03/2021             PA                           Clowser            Land acquisition      $75,000.00
                                      ACRES
                                                         (Abbr.)
                                                                           2006 drill rig and
                                                       Dan’s Auto
       03/202 1            KY      DRILLING RIG                                ancillary        $250,000.00
                                                         Sales
                                                                              equipment
                                                                           Assignment of all
                                                       Great Oak
       01/2021             PA       GREAT OAK                              property and well        $0.00
                                                       Energy, Inc              Interest
                                                         Murphy            Assignment of all
       01/2021             PA         CLARION          Production,         property and well     $40,000.00
                                                           Inc                  Interest
                                                        Lawrence
       01/20021            KY           LCG            County Gas,         Lease assignment      $46,753.00
                                                          LLC

       (9/15) 2021 TOTAL PURCHASE PRICE                                                         $2,808,958.00



                                                  9
Case 21-22406-CMB              Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                   Desc Main
                                       Document     Page 10 of 24




                                                     2020
                                                            Minard Run       Assignment of all
          11/2020              PA       PGE & MROC          Oil Company      property and well    $1,500,000.00
                                                                                  Interest
                                                                             Assignment of all
          11/2020             KY        SOUTHFORK           Zenithal LLC     property and well     $90,000.00
                                                                                  Interest
                                       CONTINENTAL           Beta Helix      Assignment of all
          11/2020             KY
                                        AND DEVON           Energy, LLC      property afld well   $851,000.00
                                                                                  Interest
                                                            MFC Drilling,    Assignment of all
          11/2020              OH           MFC                 I            property and well    ($150,000.00)
                                                                                  Interest
                                                              Magnum
                                                                             Well bore interest
          07/2020             KY         MAGNUM              Drilling of        and assets         $90,000.00
                                                              Ohio,_Inc
                                          MARCO                Snyder              Lease           $10,100.00
          03/2020              PA
                                         MIDPENN            Brothers, Inc      Assignments
                                                              Highland       Assignment of all
          01/2020              PA         SENECA               Energy        property and well     $21,875.00
                                                             Company              Interest
                                                                             Assignment of all
                                                             Petro-Hunt
          0 1/2020            ND        PETRO HUNT                           property and well     $59,550.00
                                                                LLC
                                                                                  Interest
                                                                             Various trucks an
          Various             Var          Various             Various                             $4,700.00
                                                                                  d ATVS

            2020 TOTAL PURCHASE PRICE                                                             $2,477,225.00


                                                     2019
                                                             Great Oak
          12/2019              PA       GREATOAK                             Swank Lease Sale      $65,069.64
                                                             Energy,_Inc
                                                              Capital        Assignment of all
          07/20 19            WV          BENGAY                             Property and well     $25,000.00
                                                            Energy, LLC           ~terest
                                                                                Real Estate,
                                                             Encourage-
          05/2019             OH          QUALITY           Alliance, LLC    Property and Well    $102,125.32
                                                                                  Interest
                                                                              Various trucks
          Various             KY         ASHLAND               Various                             $7,800.00
                                                                                and ATVS

            2019 TOTAL PURCHASE PRICE                                                             $199,994.96



          30.        After consummation of the above transactions,       the Debtor’s primary remaining asset

is   the Chaffee Corners WI. In that regard, after significant prepetition marketing by Copper Run, the

Debtor has successfully negotiated an Asset Purchase Agreement for             the sale of the Chaffee Corners



                                                      10
Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                    Desc Main
                                   Document     Page 11 of 24


WI with Arch Energy Partners, LLC and attempted to consummate this transaction outside of the

bankruptcy process. However, due to, inter alia, complications and uncertainty surrounding the

Chaffee Corners WI transaction and the fact that liabilities of the Debtor far exceed the remaining

assets, the Debtor determined that the best way to maximize the value of the Chaffee Corners WI was

to sell the asset in a court-supervised 363 sale transaction and otherwise wind-down its affairs in this

Chapter 11 Case.

E.      Objectives of the Chapter 11 Filing.

        31.     Afier considering various alternatives, the Debtor has determined that a sale of the

Chaffee Corners WI and sale or wind-down of its other remaining assets pursuant to one or more

transactions during this Chapter 11 Case is the best way to maximize the value of its assets and

properties for the benefit of all stakeholders. As mentioned above, the Debtor recently entered into an

Asset Purchase Agreement for the Chaffee Corners WI and Copper Run is prepared to market the asset

in a court-supervised process.

        32.     The Debtor has prepared a 13-week forecast that estimates sufficient liquidity to fund

its operations and restructuring expenses postpetition, while the Debtor runs the 363 sale ofthe Chaffee

Corners WI and otherwise wind-down its affairs.

        33.     Most importantly, the forecast   -~   and the Debtor’s postpetition liquidity   —   relies upon

consensual use of Wells Fargo’s cash collateral. The Debtor believes that the use of Wells Fargo’s

cash collateral will provide the Debtor sufficient liquidity to complete a court-supervised sale and

restructuring process that will enable the Debtor to maximize the value of its estate.

                             FIRST DAY MOTIONS AND ORDERS

        34.     In furtherance of these objectives, the Debtor intends to file a number of first day

motions (the “First Day Motions”) and proposed orders and respectfully requests that the Court enter




                                                      11
Case 21-22406-CMB            Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                Desc Main
                                     Document     Page 12 of 24


the proposed orders granting the relief sought in the First Day Motions. I have reviewed each of the

First Day Motions and orders (including the exhibits thereto) and the facts set forth therein are true and

correct to the best ofmy knowledge, information, and belief. Moreover, I believe that the relief sought

in each of the First Day Motions and orders: (a) is vital to enable the Debtor to make the transition to,

and operate in, chapter 11 with a minimum interruption or disruption to its business or loss of

productivity or value; and (b) constitutes a critical element in achieving the Debtor’s successful

reorganization.

A.      Procedural Motions.

        I.        Emergency Motion of the Debtor to Extend Time in which to Files Schedules,
                  Statement ofFinancial Affairs, and Related Documents

        35.       The Debtor has filed a motion for an order granting additional time to file its schedules

and statement of financial affairs (collectively, the “Schedules”). The Debtor’s operations are complex

and, in light of the prepetition sale efforts, there has not been a sufficient opportunity to research and

produce all of the information and documents to counsel necessary to file the Schedules. The Debtor

submits that a modest extension of time to file the Schedules will not be prejudicial to any of the

Debtor’s creditors or the other parties-in-interest. Given these facts, the Debtor submits that cause

exists to extend the time for the Debtor to file its Schedules to thirty (30) days afier the Petition Date.

B.      Operational Motions.

         I.       Emergency Motion ofthe Debtorfor an Order Authorizing the Continued Use of
                  Prepetition Bank Accounts and Existing Cash Management System

                  a. The Debtor Should Be Granted Authority to Maintain Its Existing Bank
                     Accounts.

        36.       Before the Petition Date, the Debtor, in the ordinary course of business, maintained the

bank accounts detailed in the Debtor’s Motion for an Order Authorizing the Continued Use of




                                                     12
Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                Desc Main
                                   Document     Page 13 of 24



Prepetition BankAccounts and Existing Cash Management System (the “Cash Management Motion”)

(collectively, the “Bank Accounts”).

        37.     The Debtor seeks a waiver of the United States Trustee’s requirement that the Bank

Accounts be closed and that new postpetition bank accounts be opened at depositories authorized by

the United States Trustee. If enforced in this Chapter 11 Case, this requirement would cause enormous

disruption in the Debtor’s business and would impair its efforts to reorganize.

        38.     Maintaining the Bank Accounts would greatly facilitate the Debtor’s “seamless

transition” to postpetition operations. To avoid delays in paying debts incurred postpetition and to

ensure as smooth a transition into chapter 11 as possible, the Debtor should be permitted to continue

to maintain the existing Bank Accounts and, if necessary, to open new accounts and close existing

accounts in the normal course of business operations. Otherwise, transferring the Bank Accounts will

be tremendously disruptive and time consuming. Indeed, the Debtor’s customers and other third

parties routinely remit payments to the Debtor via electronic transfers. By permitting the Debtor to

maintain the Bank Accounts, the Court will enable the Debtor to avoid confusion associated with

providing its customers and other third parties new electronic transfer information and the possibility

that such party will attempt to electronically transfer funds into a closed bank account.

        39.     The Debtor also seeks a waiver of the requirement that it establish specific bank

accounts for tax payments. I believe that tax obligations can be paid most efficiently out ofthe existing

Bank Accounts, that the United States Trustee can adequately monitor the flow of funds into, among

and out of the Bank Accounts, and that the creation of new debtor-in-possession accounts designated

solely for tax obligations would be unnecessary and inefficient.




                                                   13
Case 21-22406-CMB           Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32              Desc Main
                                    Document     Page 14 of 24



                b. The Debtor Should Be Granted Authority to Use Existing Business Forms and
                   Checks.

        40.     To minimize expense to the Debtor’s estate, I believe that the Debtor should be

authorized to continue to use all correspondence and business forms (including, but not limited to,

letterhead, purchase orders, invoices, etc.), as well as checks existing immediately before the Petition

Date, without reference to its status as debtor-in-possession. Once the Debtor runs out of preprinted

checks that do not bear that designation, the Debtor will add such designation to any new checks it

obtains or creates postpetition.

        41.     Parties doing business with the Debtor undoubtedly will be aware ofthe Debtor’s status

as a debtor-in-possession. Changing correspondence and business forms is therefore unnecessary, and

would burden the estate by the expense involved and also would disrupt the Debtor’s business

operations.

                c. Continuing the Debtor’s Existing Cash Management System.

        42.     The Debtor’s cash management system is relatively simple and straight forward.

Virtually all of the Debtor’s receipts go into its Operating Account, which is then used to fund the

Distribution Account (for the payment of royalties and other lease related payments owed to

landowners) and the Payroll Account.

        43.     With respect to employee payroll, the Operating Account is used to fund the Payroll

Account and, in turn, payment ofpayroll and related taxes. The employees of the Debtor are generally

paid their compensation by the Debtor’s third-party payroll service, SyncHR (the “Payroll Processor”).

Direct deposits and tax payments are all processed by the Payroll Processor. The Payroll Processor

deducts the direct deposit amount from the Bank Account and transfers the money to each employees’

bank account. These transfers are made by Payroll Processor, at the direction of the Debtor and in

accordance with the payroll information transmitted to the Payroll Processor.



                                                   14
Case 21-22406-CMB              Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32            Desc Main
                                       Document     Page 15 of 24


                    d. Need to Continue Cash Management System.

        44.         The Debtor seeks authority to continue utilizing its current cash management system,

as described above. Substantially disrupting this cash management procedure would severely impair

the Debtor’s ability to preserve and enhance its respective going concern values and to successfully

reorganize during this Chapter 11 Case.        Moreover, opening new accounts and establishing a new

cash management system would also inevitably have a deleterious effect on the Debtor’s record

keeping   —     which would subvert the goal of the United States Trustee’s guidelines. It is essential,

therefore, that the Debtor be permitted to continue to use its current Bank Accounts and current cash

management system.

        45.         The Debtor has utilized its cash management system as described herein in its current

basic structure for many years in its ordinary, usual, and essential business practices.

        46.         The widespread use of this type of cash management system, moreover, is attributable

to the numerous benefits it provides, including the ability to: (a) control and monitor corporate funds;

(b) ensure cash availability; and (c) reduce administrative expenses by facilitating the movement of

funds and the development of timely and accurate balance and presentment information. In addition,

preserving a “business as usual” atmosphere, and avoiding the unnecessary distractions that would

inevitably be associated with a substantial disruption of the cash management system, will facilitate

and enhance the Debtor’s reorganization efforts to maximize its assets for the benefit of its

stakeholders. For similar reasons, the Debtor should be authorized to continue to fund its business and

operations by payments made from the Operating Account.

          47.       The Debtor incurs periodic service charges and other fees in connection with the

maintenance of the Cash Management System totaling approximately $2,100 per month. As of the

Petition Date, the Debtor estimates that it owes no Bank Fees, but seeks permission to pay all




                                                     15
Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32            Desc Main
                                   Document     Page 16 of 24



prepetition Bank Fees and to continue paying the Bank Fees postpetition on a monthly basis in

accordance with past practices.

        IL       Emergency Motion For an Order (A) Authorizing The Payment of Employee
                 Obligations; (B) Authorizing the Maintenance of Employee Benefits Programs in
                 the Ordinary Course: (C) Authorizing the Interim Payment ofPrepetition Severance
                 Obligations; and (D) Directing Banks to Honor Prepetition Checks for Payment of
                 Employee Obligations

       48.       Prior to the Petition Date and in the ordinary course of its business, the Debtor

provided its employees (the “Employees”) with wages, salaries, vacation time, holiday time, a

Roth 401(k) and Fidelity Traditional 401(k) plan and other compensation. The Debtor seeks

authority to pay the accrued but unpaid prepetition compensation owed to its Employees (along

with payroll taxes and other related amounts) in accordance with the Debtor’s ordinary business

practices. The Employees are essential to the orderly operation and survival of the Debtor’s

business. Consequently, it is critical that the Debtor continues to honor its prepetition obligations

to the Employees.

       49.       If the Employee obligations are not honored and timely paid, the Employees may

suffer personal hardship and be unable to pay their daily living expenses, and may be required to

personally bear expenses that were incurred on behalf of the Debtor with the expectation that they

would be reimbursed. There would undoubtedly be a marked deterioration in morale among

employees at a critical time, and an attendant negative impact on the Debtor and its operations

which could only diminish the value of the Debtor’s assets and its ability to achieve its objectives

in Chapter 11.




                                                 16
Case 21-22406-CMB            Doc 4     Filed 11/07/21 Entered 11/07/21 13:30:32                     Desc Main
                                      Document     Page 17 of 24



                 a. Prepetition Wages.

        50.      The Debtor employs approximately nine (9) active Employees. The Employees

are paid every other week,5 on Friday, for the work they performed during the previous Sunday

through the fourteenth day (i.e. Saturday of the second week).

        51.      Distribution of the payroll is generally handled by the Payroll Processor with the

support of the Debtor. The Payroll Processor has access to the Payroll Account whereby the

Payroll Processor transfers from the Payroll Account, an amount sufficient to cover the then

current payroll.    The Payroll Processor similarly directly debits the Payroll Account for the

employee and employer taxes and other deductions and remits such payments to the appropriate

third party on the Debtor’s and employees’ behalf.

        52.      The Debtor paid the Employees in the ordinary course on November 5, 2021, for

work that was performed through October 30, 2021.

        53.      The Debtor seeks to pay its Employees for seven (7) of prepetition work for which

payment has not yet been made and remit the related taxes and payroll deductions to the appropriate

third parties (“Withholding Obligations”), not to exceed the Bankruptcy Code maximum amount.

                 b. Vacation Obligations.

        54.      Under the Debtor’s vacation policy, the Employees earn vacation days (accrued

on a monthly basis), depending on the Employee’s position and number of years of service.

Vacation time must be used in the calendar year in which it was accrued and the Debtor does not

compensate any Employee for accrued but unused vacation time.

        55.      The Debtor does not seek to pay accrued vacation pay in a lump sum, but rather to

continue to allow each affected Employee to use or take accrued vacation or pay for unused



 As mentioned above, while I am an employee of the Debtor, I do not recieve a salary from the Debtor.


                                                       17
Case 21-22406-CMB          Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                Desc Main
                                   Document     Page 18 of 24


vacation time consistent with prepetition practice.

                c. Reimbursable Business Expenses.

        56.     Prior to the Petition Date and in the ordinary course of its business, the Debtor

reimbursed Employees for actual, reasonable, and proper business and/or travel expenditures

incurred in the normal course of their employment (collectively, the “Reimbursable Expenses”).

The Debtor does not at this time know the precise amount of such incurred but unreimbursed

Reimbursable Expenses, but the Debtors estimate that the amount is less than $5,000.

                d. Roth 40 1(k) and Fidelity Traditional 40 1(k) Plans.

        57.     The Debtor provides an opportunity for eligible employees to participate in either or

both a Roth 401(k) and Fidelity Traditional 401(k) plans. Employees may make elective deferrals

up to the maximum allowable by law by way of payroll deductions and the Debtor matches the

Employees contributions up to three percent (3%). Virtually all of the Employees elect to

participate in either or both the Roth 40 1(k) and Fidelity Traditional 401(k) plans.

                e. Employee Benefits.

        58.     In the ordinary course of its business, the Debtor maintains an employee benefits

program that provides the Employees with medical/health insurance benefits, dental, short and long

term disability, group life insurance and various other benefits (collectively, the “Employee Benefits”).

These benefits are provided pursuant to prepetition contracts between the Debtor and insurance

company/benefit providers. The Debtor intends to satisfy its postpetition obligations for benefits

received under the prepetition contract in the ordinary course of business.

                f.   Interim Authority to Continue Paying Former Employees Severance

        59.     Contemporaneously with the filing of this Chapter 11 Case, the Debtor filed a motion

seeking to authorize a key employee incentive program and a severance program (the




                                                   18
Case 21-22406-CMB            Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32              Desc Main
                                     Document     Page 19 of 24


“Severance/KElP Motion”). As set forth in the Severance/KElP Motion, the Debtor has historically,

at its discretion, paid employees a severance package in the amount of two weeks of wages for each

year of service by the employee, continued COBRA coverage for the same duration and outplacement

counselling (the “Severance Payments”). As of the Petition Date, the Debtor has been making

Severance Payments to three (3) former non-insider employees who were not hired by the buyer of

certain assets sold prepetition.

        60.     The Debtor seeks to continue making Severance Payments to these non-insider

employees, on an interim basis, until the Severance/KElP Motion is heard and determined by this

Court. Continuing to provide these former non-insider employees Severance Payments is reasonable

in light of, among other things, their efforts to facilitate prepetition sales with the expectation that,

consistent with past practice both before and after the Petition Date, the Debtor would offer Severance

Payments to employees terminated as a result of the sale transaction.

        61.     Moreover, the COVID- 19 pandemic together with oil and gas prices has caused oil and

gas companies to downsize and cease operations. Therefore, these former non-insider employees are

likely struggling to obtain new employment and rely heavily on these Severance Payments. Lastly,

continuing to make Severance Payments to these former non-insider employees will help maintain

current employee moral knowing that the Debtor is protecting the interests of its employees (albeit on

an interim basis). As such, providing these former non-insider employees continued Severance

Payments on an interim basis while the Severance/KElP Motion is considered is in the best interest of

the Debtor and its estate.




                                                   19
Case 21-22406-CMB            Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32               Desc Main
                                     Document     Page 20 of 24


           III.   Emergency Motion of the Debtor for Entry of Interim and Final Orders (I)
                  Authorizing the Debtor to Use Cash Collateral; (II) Granting Adequate Protection;
                  (III) Scheduling a Final Hearing; and (IV) Granting Related Relief

        62.       The Debtor has also sought authority to use cash collateral of Wells Fargo. For the

reasons set forth below, the Court’s approval of this First Day Motion is absolutely critical.

        63.       The Debtor believes that the best means to maximize the value of the Debtor’s assets

is to sell its assets and holdings during the course of the Chapter 11 Case. The Debtor, however,

requires the use of cash collateral to operate its business and meet its postpetition obligations pending

such sales. Prior to the Petition Date, the Debtor requested that Wells Fargo pennit it to use cash

collateral to enable the Debtor to continue to operate in the ordinary course through the sales of

substantially all of its assets and wind-down of its affairs. Following arms-length negotiations, Wells

Fargo is willing to allow the Debtor to use Wells Fargo’s cash collateral to accomplish these goals

subject to certain conditions as described in this First Day Motion.

        64.       Without the use of Wells Fargo’s cash collateral, as proposed in this First Day Motion,

the Debtor’s operations will almost certainly have to soon cease, the value of its assets will be severely

diminished, and jobs will be immediately lost. In short, without the use of cash collateral, the Debtor’s

prospects for a successful reorganization will be substantially undermined and the value ofthe Debtor’s

assets and operations will be placed in serious jeopardy. Therefore, it is imperative that the Debtor be

authorized to use cash collateral in order to preserve its assets pending the sale of the Chaffee Corners

WI before this Court and wind-down of its affairs through a plan confirmation or other appropriate

process.

           65.    The Debtor believes that use of cash collateral will be sufficient to enable the Debtor

to continue to operate on a going concern basis for at least 13 weeks after the Petition Date, an amount




                                                    20
Case 21-22406-CMB         Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32               Desc Main
                                  Document     Page 21 of 24


of time sufficient to allow the Debtor to complete the sale of the Chaffee Corners WI and provide for

a wind-down of the Debtor’s affairs through a plan confirmation or other appropriate process.

        66.    Through arms’ length and good faith negotiations, the Debtor has obtained Wells

Fargo’s consent to use cash collateral. The Debtor requires immediate access to funds in order to pay

essential expense items and provide it sufficient time to complete the Chaffee Corners WI sale process.

The Debtor also requires certain funds to pay any unforeseen costs and expenses pending a final

hearing on this First Day Motion. Consequently, the Debtor seeks emergency and interim relief as

soon as possible.

         IV.   Emergency Motion of the Debtor for an Order (A) Authorizing, but not Directing,
               the Debtor to Pay Joint Interest Billings; (B) Authorizing Operators Under the Joint
               Operating Agreements to Recoup the Debtor’s Share of Joint Interest Billings
               Against the Debtor’s Share ofRevenue in the Ordinary Course; and (C) Authorizing
               Prepetition Royalty Payments to be Honored

        67.     The Debtor has filed a motion for authority to pay joint interest billings, authorize

operators to recoup the Debtor’s share ofjoint interest billings against the Debtor’s share of revenue,

and authorizing prepetition royalty payments to landowners related to the Ashland Interest (as defined

below) to be honored.

        1.      The Debtor owns a right to extract minerals (a “Working Interest”) in

approximately 1,995 net acres of oil and gas leases in Pennsylvania, Ohio, and Louisiana. The

Debtor is a non-operating party to various Joint Operating Agreements (“JOAs”) governing

operations of the wells in which it owns a Working Interest. The JOAs govern the relationship

between the joint interest holders in the Leases. Under the Debtor’s remaining JOAs, a third party

is the operator of the Working Interest and the Debtor is responsible its pro-rata portion of the

capital expenditures and lease operating expenses (“Joint Interest Billings”), which operating

expenses are recoupled against the production revenues from the oil and gas wells prior to payment




                                                  21
Case 21-22406-CMB           Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                     Desc Main
                                    Document     Page 22 of 24


to the Debtor of any interest in revenues on a monthly basis. The Debtor’s operations and

production may be adversely impacted if the operator is not permitted to recoup the Joint Interest

Billings in the ordinary course of business. Indeed, failure to permit the recoupment of Joint

Interest Billings against production revenues as required by the JOAs could result in litigation,

which would burden the Debtor’s estate, and diminish the value of the Debtor’s assets to potential

purchasers. Namely, the Debtor’s working interest partners may have claims against the Debtor

under the JOAs for the Debtor’s pro rata share of operating expenses and any damages related to

change in production if unable to maintain operations.

        68.       The Debtor therefore requests the Court to authorize its operating partners, subject to

the terms of the attached proposed order, the applicable contracts, and applicable law, to continue to

recoup the Debtor’s pro rata share of the valid Joint Interest Billings against the Debtor’s interest in

revenues on an ongoing basis and in the ordinary course of business. Alternatively, in the event the

operator (instead of recouping the Joint Interest Billings) requests payment, the Debtor requests

authority to pay its share of the Joint Interest Billings.

        69.     Additionally, while the Debtor no longer holds any Working Interests where it serves

as the operator, up and until August 29, 2021, the Debtor was the operator of the Working Interest in

a sour gas field consisting of approximately 50,000 net acres and the infrastructure related thereto

located in and around Elliott, Johnson, Lawrence, Magoflin, and Morgan Counties, Kentucky (the

“Ashland Interest”). As the operator of the Ashland Interest, the Debtor was obligated (pursuant to the

terms of the respective lease) to pay landowners a royalty based on the amount of oil and gas extracted

from such landowner’s property. Approximately three (3) weeks prior to the Petition Date, the Debtor

issued and mailed checks (aggregating approximately $32,000) for the last royalty payments due from

the Debtor to such landowner. Many        —   but not all   —   of the checks have been negotiated prepetition,




                                                       22
Case 21-22406-CMB           Doc 4    Filed 11/07/21 Entered 11/07/21 13:30:32                  Desc Main
                                    Document     Page 23 of 24


there are approximately $9,000 in uncashed royalty checks as of the Petition Date, many of which are

for less than $150. By this First Day Motion, the Debtor seeks to authorize these landowners to deposit

the prepetition royalty checks postpetition, authorize Wells Fargo to honor such prepetition checks,

and authorize the Debtor to issue new checks (if necessary) to replace the uncashed prepetition royalty

payment checks.

        70.     The Debtor believes that permitting landowners to deposit these modest royalty checks

now is in the best interest of it and its estate as doing so will reduce the administrative costs and burden

on the estate by eliminating such approximately 130 creditors/landowners’ involvement in the

bankruptcy, many of which will have claims of less than $150. Unless the royalties are paid, this

Chapter 11 Case will undoubtedly cause such landowners to file claims and create an unnecessary

administrative expense associated with addressing each individual de minimus claim. As such, the

Debtor seeks to authorize these landowners to deposit the prepetition royalty checks postpetition,

permit Wells Fargo to honor such checks, and authorize the Debtor to issue new checks (if necessary)

to replace the uncashed prepetition royalty payment checks.




                               [Conclusion and Signature Page Follows]




                                                    23
Case 21-22406-CMB          Doc 4      Filed 11/07/21 Entered 11/07/21 13:30:32                Desc Main
                                     Document     Page 24 of 24


                                             CONCLUSION

        In order to minimize any loss of value to the Debtor’s business and consummate the sale of its

Chaffee Corners WI, the Debtor’s immediate objective is to engage in business as usual following the

commencement of this Chapter 11 Case, with as little interruption to its operations as possible. I

believe that ifthis Court grants the reliefrequested in each First Day Motion, the prospect for achieving

these objectives, to the maximum benefit of creditors of the Debtor’s estates, will be substantially

enhanced.

        Pursuant to 28 U.S.C.   §   1746, I certify under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.



Dated: November 7, 2021                                               Jcuneo   a. 5ay&~
                                                          By:      James A. Taylor
                                                          Title:   President and CEO of the Debtor




                                                     24
